      Case 4:12-cr-00699 Document 28 Filed on 07/12/13 in TXSD Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA,                   §
                                            §
                    Government,             §
                                            §
VS.                                         §     CRIMINAL NO. H-12-699-2
                                            §
KELLY TAYLOR GIPSON,                        §
                                            §
                    Defendant.              §


                               ORDER OF REFERRAL

       Having considered the defendant’s consent, this cause is hereby referred to United

States Magistrate Judge Mary Milloy for the purpose of administering the plea of guilty and

the FED.R.CRIM.P. 11 Allocution, subject to the final approval and imposition of sentence

by this Court.


       SIGNED on July 12, 2013, at Houston, Texas.


                                                ______________________________________
                                                         Lee H. Rosenthal
                                                   United States District Judge
